Case 18-13455     Doc 41     Filed 02/20/19 Entered 02/20/19 13:09:16           Desc Main
                               Document     Page 1 of 4


                   UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF MASSACHUSETTS
 ____________________________________
                                      )
 IN RE:                               )
                                      )      Chapter 13
 JAMIE PEARSON                        )      Case No.: 18-13455
        Debtor,                       )
 ____________________________________)

        DEBTOR’S RESPONSE TO MOTION FOR RELIEF FROM STAY

        Now comes the Debtor, Jamie Pearson, through Counsel and hereby responds to

 the Motion for Relief from Stay filed by PennyMac Loan Services, LLC as follows:

        1. Admitted.

        2. Admitted.

        3. Admitted.

        4. Admitted.

        5. Admitted.

        6. Admitted.

        7. Admitted.

        8. Admitted.

        9. Admitted.

        10. The Debtor is without sufficient information to admit or deny the statement

           contained in Paragraph 10.

        11. Admitted.

        12. The Debtor admits that the property is subject to the encumbrances listed,

           however, the Debtor denies that the property has a Federal Tax Lien from the

           Internal Revenue Service in the amount of $10,853.55 as this lien was
Case 18-13455     Doc 41    Filed 02/20/19 Entered 02/20/19 13:09:16             Desc Main
                              Document     Page 2 of 4


         released. The release was recorded with the Barnstable County Registry of

         Deeds on September 25, 2018 at Book 31551, Page 286.

      13. Admitted.

      14. Admitted.

      15. Admitted.

      16. The Debtor admits that the movant has not received any post-petition

         payments. The Debtor would like to enter into a stipulation with Secured

         Creditor to cure the post-petition arrearage.

      17. Admitted.

      18. Admitted.

      19. The Debtor disagrees that the property is not necessary for a successful

         reorganization.

      20. The Debtor understands that the Movant seeks relief from stay as a secured

         creditor to enforce its rights under its loan documents and applicable law.

             I.       The Debtor understands that the Movant is entitled to relief

                      pursuant to 11 U.S.C. §362(d)(1) for cause on the basis that the

                      Debtor has not made post-petition payments, and that the Debtor

                      has failed to provide the plaintiff with adequate protection;

                      however, as stated above, the Debtor would like to enter into a

                      stipulation with Secured Creditor and requests that relief from stay

                      not be granted at this time.
Case 18-13455     Doc 41    Filed 02/20/19 Entered 02/20/19 13:09:16        Desc Main
                              Document     Page 3 of 4


        WHEREFORE, the Debtor, Jamie Pearson, through Counsel hereby requests that

 the Motion for Relief from Stay filed by PennyMac Loan Services, LLC be withdrawn or

 denied by this Honorable Court.

                                                  Respectfully Submitted,
                                                  The Debtor,
                                                  By Her Attorney,

                                                  /s/ Peter M. Daigle______________
                                                  Peter M. Daigle, Esquire
                                                  BBO # 640517
                                                  1550 Falmouth Road, Suite 10
                                                  Centerville, MA 02632
                                                  (508) 771-7444

 Dated: February 20, 2019
Case 18-13455        Doc 41    Filed 02/20/19 Entered 02/20/19 13:09:16           Desc Main
                                 Document     Page 4 of 4


                              CERTIFICATE OF SERVICE


          I hereby certify that I have caused a duplicate copy of the above to be served upon
 all parties of record by electronic mail or by First Class Mail postage prepaid.


                                               /s/ Peter M. Daigle__________________
                                               Peter M. Daigle, Esquire
 Dated: February 20, 2019

 Electronic Mail:

 Carolyn Bankowski, US Trustee
 John Fitzgerald, Asst. US Trustee
 Joshua Ryan-Polczinski, Esquire for PennyMac Loan Services, LLC

 First Class Mail:

 Falmouth Tax Collector
 59 Town Hall Square #1
 Falmouth, MA 02540

 Lustig, Glaser & Wilson PC
 For FIA Card Services, N.A.
 PO Box 9127
 Needham, MA 02492

 Barnstable County
 3225 Main St.
 PO Box 226
 Barnstable, MA 02630

 David Steinberg
 For Irene’s Meadow Association Trust
 90 Altons Lane
 East Falmouth, MA 02536

 Internal Revenue Service
 PO Box 7346
 Philadelphia, PA 19101

 Massachusetts Department of Revenue
 Bankruptcy Unit
 PO Box 9564
 Boston, MA 02114
